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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


 AMERICAN SECURITIES
 ASSOCIATION,

                          Plaintiff,             Civil Action No. 8:22-cv-330

       v.

 U.S. DEPARTMENT OF LABOR;
 MARTY WALSH, in his official
 capacity as the Secretary of Labor,

                          Defendants.



         PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND
                MEMORANDUM OF LAW IN SUPPORT




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          INTRODUCTION AND SUMMARY OF THE ARGUMENT
      Congress passed the Administrative Procedure Act to ensure that agencies

follow constraints as they exercise their powers. “[F]ramed against a background

of rapid expansion of the administrative process,” the APA serves as “a check

upon administrators whose zeal might otherwise . . . carr[y] them to excesses not

contemplated in legislation creating their offices.” United States v. Morton Salt Co.,

338 U.S. 632, 644 (1950).

      The APA’s requirement that agencies engage in notice-and-comment

rulemaking is one of the law’s most important checks on agency power. This

process ensures that “agency regulations are tested via exposure to diverse public

comment” and that there is “fairness to affected parties.” Int’l Union, United Mine

Workers of Am. v. MSHA, 407 F.3d 1250, 1260 (D.C. Cir. 2005). By mandating

“openness, explanation, and participatory democracy,” these procedures seek to

avoid “the dangers of arbitrariness and irrationality in the formulation of rules.”

Weyerhaeuser Co. v. Costle, 590 F.2d 1011, 1028 (D.C. Cir. 1978).

      The APA also requires agencies to comply with their own regulations. If an

agency wants to amend its rules, it must “use the same procedures” that it “used

to issue the rule in the first instance.” Perez v. Mortgage Bankers Ass’n, 575 U.S. 92,

101 (2015). And while agencies can interpret their own rules, they cannot issue

interpretations that are unreasonable or inconsistent with the plain meaning of the

rules. Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019).

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      The U.S. Department of Labor has failed to comply with its obligations

under the APA. In April 2021, the Department released a series of “Frequently

Asked Questions” that purported to provide “guidance” for individuals seeking

to comply with the Department’s rules governing investment advice. In reality,

however, the Department used these FAQs to improperly amend its rules outside

of the APA’s notice-and-comment process.

      Two FAQs are relevant here. In FAQ 7, the Department stated that a

financial professional’s “first instance” of advice to rollover assets from one

retirement plan to another can be the act of a “fiduciary,” even though the

Department’s rules state that a person is not a fiduciary unless he provides advice

on a “regular basis to the plan.” And in FAQ 15, the Department imposed a host

of new documentation and investigation requirements on institutions making

rollover recommendations, even though the exemption the Department

previously promulgated contains no such requirements.

      The APA plainly prohibits this type of rulemaking. If the Department

wanted to change its rules, it had one option: notify the public that it intended to

amend its rules and provide an opportunity to comment. It failed to do that,

choosing instead to amend its rules through a guidance document it posted on its

website. Because the FAQs didn’t go through the notice-and-comment process and

are inconsistent with a plain reading of the Department’s rules, the Court should



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declare that the pronouncements in FAQ 7 and FAQ 15 are unlawful, enjoin the

Department from enforcing them, and vacate and set them aside.

                     STATEMENT OF MATERIAL FACTS
      1.    In December 2020, the U.S. Department of Labor published a

document containing a class exemption from certain prohibited transactions

under ERISA. See Administrative Record (“AR”) 65-69 (Prohibited Transaction

Exemption 2020-02, Improving Investment Advice for Workers & Retirees, 85 Fed. Reg.

82798 (Dec. 18, 2020) (“the Exemption”)).1 The document also contained a new

interpretation concerning when advice to roll over assets from an employee

benefit plan to an individual retirement account (“IRA”) will be considered

“fiduciary” investment advice under Title I of ERISA and the Internal Revenue

Code of 1986. AR 8-11.

      2.    In April 2021, the Department issued a set of “Frequently Asked

Questions” concerning, among other things, (1) when advice to roll over assets

from an employee benefit plan to an IRA will be considered to be on a “regular

basis” under the Department’s rules (FAQ 7); and (2) what factors financial

institutions and investment professional must consider and document when

disclosing the “specific reasons” that a rollover recommendation is in a retirement




      1 Per the Court’s scheduling order, the parties will file a joint appendix on
August 26 that contains the portions of the administration record cited in the
parties’ briefs.
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investor’s best interest (FAQ 15). See AR 1346-61 (New Fiduciary Advice Exemption:

PTE 2020-02 Improving Investment Advice for Workers & Retirees Frequently Asked

Questions, U.S. Dep’t of Labor (Apr. 2021)).

      3.     The American Securities Association (ASA) is a trade association of

regional financial services firms that help individuals create and preserve wealth

and provide Main Street businesses and others with access to capital. ASA’s

mission is to promote trust and confidence among investors, facilitate capital

formation, and support efficient and competitively balanced capital markets. ASA

has a geographically diverse membership base that spans every region of the

United States. ASA’s principal place of business is in Tampa, Florida. Ex. A at 1-2,

¶3 (Iacovella Decl.).

      4.     ASA has members that are injured by the Department’s

pronouncements in FAQ 7 and FAQ 15. In particular, ASA has at least one member

that prohibits its investment advisors from recommending that investors roll over

assets out of an employee benefit plan out of concern that such advice will confer

ERISA fiduciary status under the Department’s pronouncements in FAQ 7. Absent

these pronouncements, this member would allow its investment advisors, when

appropriate, to recommend that investors roll over assets out of an employee

benefit plan, even if it was the advisor’s first contact with the investor. Ex. A at 2,

¶¶4-5 (Iacovella Decl.); Ex. B at 3, ¶8 (Shultz Decl.).



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       5.     ASA also has at least one member that will utilize the December 2020

 Exemption but is now expending additional time and resources to comply with

 the Department’s requirements in FAQ 15. This member would not endure these

 costs and burdens but for the Department’s pronouncements about the

 documentation required to comply with the Exemption. Ex. A at 2, ¶6 (Iacovella

 Decl.); Ex. C at 4-5, ¶¶10, 12 (Palermo Decl.).

       6.     Finally, ASA has at least one member that will not utilize the

 December 2020 Exemption to avoid the costs of complying with the Department’s

 requirements set forth in FAQ 15. Absent the Department’s pronouncements in

 FAQ 15, this member would utilize the Exemption to engage in the activities that

 the Exemption explicitly permits. Ex. A at 2, ¶7 (Iacovella Decl.); Ex. B at 5, ¶¶13-14

 (Shultz Decl.).

                               LEGAL BACKGROUND
 I.    The Regulation of Fiduciaries Under ERISA and the Internal Revenue
       Code

       In 1974, Congress passed ERISA as a “comprehensive statute designed to

 promote the interests of employees and their beneficiaries in employee benefit

 plans.” Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 90 (1983). Title I of ERISA gives the

 Department of Labor far-reaching regulatory authority over employer-sponsored

 retirement plans (e.g., a defined benefit plan that promises participating

 employees a fixed, pre-established benefit at retirement). Chamber of Commerce v.

 U.S. Dep’t of Labor, 885 F.3d 360, 364 (5th Cir. 2018) (citing 29 U.S.C. §§1108(a)-(b),
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 1135). Title I designates certain service providers to retirement plans as

 “fiduciaries” and subjects these individuals to duties of loyalty and prudence.

 29 U.S.C. §1104(a)(1)(A)-(B). Under Title I, a person is a “fiduciary with respect to

 a plan” to the extent he, among other things, “renders investment advice for a fee

 or other compensation, direct or indirect, with respect to any moneys or other

 property of such plan, or has any authority or responsibility to do so.” Id.

 §1002(21)(A)(ii). Title I prohibits fiduciaries from engaging in certain “prohibited

 transactions,” such as transactions in which the fiduciary receives a commission

 paid by a third party or compensation that varies based on the advice that is

 provided. See id. §1106(b)(3). Title I authorizes the Department to grant exemptions

 allowing institutions and individuals to engage in these prohibited transactions.

 See id. §1108(a), (b).

        Title II of ERISA, by contrast, created tax-deferred personal IRAs and similar

 accounts within the Internal Revenue Code (e.g., a traditional IRA that allows

 individuals to contribute pre-tax income toward investments that can grow tax-

 deferred). 26 U.S.C. §4975(e)(1)(B). Unlike Title I of ERISA, Title II does not give

 the Department broad authority to supervise financial service providers to IRAs.

 Chamber of Commerce, 885 F.3d at 364. Moreover, Title II fiduciaries to IRAs do not

 have duties of loyalty and prudence. Id. Instead, Title II authorized the Treasury

 Department, through the IRS, to impose an excise tax on “prohibited transactions”

 involving fiduciaries of IRAs. 26 U.S.C. §4975(a), (b). The Department of Labor is

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 authorized only to grant exemptions from the prohibited transactions provision,

 id. §4975(c)(2), 29 U.S.C. §1108(a), and to “define accounting, technical and trade

 terms” that appear in both laws, 29 U.S.C. §1135.

       In 1975, a year after ERISA was passed, the Department of Labor

 promulgated a five-part test for determining who is a “fiduciary” under ERISA

 and the Code. Under that test, a person who renders investment advice is a

 “fiduciary” when:

       Such person [1] renders advice to the plan as to the value of securities
       or other property, or makes recommendation as to the advisability of
       investing in, purchasing, or selling securities or other property; . . . [2]
       on a regular basis to the plan [3] pursuant to a mutual agreement,
       arrangement or understanding, written or otherwise, between such
       person and the plan or a fiduciary with respect to the plan, that such
       services [4] will serve as a primary basis for investment decisions with
       respect to plan assets, and that such person [5] will render
       individualized investment advice to the plan based on the particular
       needs of the plan[.]

 29 C.F.R. §2510.3-21(c)(1). This definition “captured the essence of a fiduciary

 relationship known to the common law as a special relationship of trust and

 confidence between the fiduciary and his client.” Chamber of Commerce, 885 F.3d

 at 365.

 II.   The 2016 Fiduciary Rule and the Fifth Circuit’s Decision Vacating the
       Rule
       For more than four decades, the Department’s five-part test governed who

 is and is not a “fiduciary” under ERISA and the Code. In 2016, however, the

 Department issued a package of new rules known as the “Fiduciary Rule.” See

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 Definition of the Term “Fiduciary”; Conflict of Interest Rule—Retirement Investment

 Advice, 81 Fed. Reg. 20946 (Apr. 8, 2016). The Fiduciary Rule, among other things,

 eliminated the “regular basis” requirement (prong two of the five-part test) that

 had been used by the Department for the previous forty years. Chamber of

 Commerce, 885 F.3d at 366. In its place, the Fiduciary Rule provided that an

 individual is a fiduciary under ERISA when, among other things, he is

 “‘compensated in connection with a ‘recommendation as to the advisability of’

 buying, selling, or managing ‘investment property.’” Id. (quoting 29 C.F.R.

 §2510.3-21(a)(1) (2017)). Through this broad new rule, the Department claimed the

 authority to regulate “virtually all financial and insurance professionals who do

 business with ERISA plans and IRA holders.” Id.

       The Department adopted the Fiduciary Rule because, among other reasons,

 it believed its longstanding rules insufficiently regulated investment decisions to

 “roll over” assets from a Title I employer-sponsored plan to a Title II IRA plan. See

 id. at 365. An IRA rollover often occurs when an employee retires and moves his

 funds from an employer-sponsored retirement plan into an IRA. See id. Before the

 Fiduciary Rule, the Department’s rules prohibited the agency from regulating

 these one-time transactions. By requiring that the advice be given to the customer

 on a “regular basis,” the Department’s five-part test “excluded one-time

 transactions like IRA rollovers” from the type of advice that might confer fiduciary

 status. Id.; see Fiduciary Rule, 81 Fed. Reg. at 20955 (“One example of the five-part

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 test’s shortcomings is the requirement that advice be furnished on a ‘regular

 basis. . . . The ’regular basis’ requirement . . . deprives individual participants and

 IRA owners of statutory protection when they seek specialized advice on a one-

 time basis . . . (e.g., as in the case of . . . a rollover from a plan to an IRA).”); see also

 id. at 20949 (“Because advice on rollovers is usually one-time and not ‘on a regular

 basis,’ it is often not covered by the 1975 standard[.]”). According to the

 Department, the Fiduciary Rule was needed because individual investors “may be

 persuaded to engage in [these rollover] transactions” by advisors who have

 “‘conflicts of interest.’” Id.

        In 2018, however, the U.S. Court of Appeals for the Fifth Circuit vacated the

 Fiduciary Rule. Chamber of Commerce, 885 F.3d at 388. In passing ERISA, the Fifth

 Circuit explained, Congress had “codified the touchstone of common law

 fiduciary status—the parties’ underlying relationship of trust and confidence.” Id.

 at 369. The Fiduciary Rule was inconsistent with this definition because it imposed

 fiduciary status when there was no “relationship of trust and confidence between

 the fiduciary and the client.” Id. at 370. In particular, the Fiduciary Rule improperly

 dispensed with the “regular basis” prong of the five-part test. “For 41 years, the

 [Department] employed a five-part test to determine whether a person is an

 investment-advice fiduciary under ERISA and the Code, and that test limited the

 reach of the statutes’ prohibited transaction rules to those who rendered advice

 ‘on a regular basis.’” Id. at 389. The Fiduciary Rule, by contrast, improperly

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 “includ[ed] one-time IRA rollover or annuity transactions where it is ordinarily

 inconceivable that financial salespeople or insurance agents will have an intimate

 relationship of trust and confidence with prospective purchasers.” Id. at 380.

        By vacating the Fiduciary Rule, the Fifth Circuit’s opinion effectively

 reinstated the 1975 rules governing who is and is not an investment-advice

 “fiduciary” under ERISA. See AR 102 (Conflict of Interest Rule—Retirement

 Investment Advice: Notice of Court Vacatur, 85 Fed. Reg. 40589, 40589 (July 7, 2020)).

 Following the Fifth Circuit’s decision, the Department issued a technical

 amendment to the Code of Federal Regulations restoring the text of the 1975 rules.

 See AR 102-07. These rules remain in place today.

 III.   The Department’s 2020 Prohibited Transaction Exemption and
        Interpretation and the 2021 “Frequently Asked Questions”
        Despite the Fifth Circuit’s ruling, the Department of Labor continued to

 believe that it should have regulatory authority over one-time rollover

 recommendations. In December 2020, the Department issued “Prohibited

 Transaction Exemption 2020-02,” an exemption covering fiduciary investment

 advice to retirement investors, including in the context of rollovers. See AR 65-69;

 see also AR 98-101 (Notification of Proposed Class Exemption, 85 Fed. Reg. 40834-01

 (July 7, 2020) (proposing the class exemption)). In the preamble to this exemption,

 the Department announced a new “interpretation” of its existing rules. AR 8-11;

 see also AR 75-76 (proposing to reinterpret the five-part test). According to the


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 Department, it now believes that the “regular basis” prong can be satisfied “with

 the occurrence of first-time advice on rollovers” if “an ongoing relationship [later]

 develops” or “the parties reasonably expect an ongoing advice relationship at the

 time of the rollover recommendation.” AR 9. This interpretation was needed, the

 Department believed, because deciding to rollover retirements saving out of a

 Title I plan is “often [the] most important” decision an investor will make. AR 10,

 33.

       After redefining who will be deemed a ”fiduciary,” the Department then

 adopted an exemption to allow these new fiduciaries to receive “otherwise

 prohibited compensation.” AR 65 (Exemption §1(a)). To qualify for the Exemption,

 financial institutions and investment professionals must, among other things: (1)

 comply with “Impartial Conduct Standards,” which includes providing advice in

 the “best interest of the retirement investor”; (2) provide various disclosures,

 including an acknowledgement of fiduciary status; (3) adopt policies and

 procedures that “mitigate” conflicts of interests; and (4) document the “specific

 reasons” why any recommendation to roll over assets from an employer-

 sponsored plan to an IRA is in the best interests of the investor. AR 66-67

 (Exemption §2).

       Notably, in the preamble to the Exemption, the Department announced a

 host of obligations that financial institutions and investment professionals needed

 to take to show the “specific reasons” that a recommendation to roll over assets is

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 in the best interest of a retirement investor. AR 33-35. None of these requirements

 were in the actual text of the Exemption. See AR 65-69.

       Five months later, in April 2021, the Department issued a set of “Frequently

 Asked Questions.” AR 1346-61 (New Fiduciary Advice Exemption: PTE 2020-02

 Improving Investment Advice for Workers & Retirees Frequently Asked Questions, U.S.

 Dep’t of Labor (Apr. 2021)). The FAQs purported to provide “guidance” on the

 five-part test and the Exemption. AR 1347. Two of these FAQs are challenged here:

 FAQ 7 and FAQ 15.

       FAQ 7. Under the Department’s regulations, a person is not an investment

 advice fiduciary unless he renders investment advice “on a regular basis to the

 plan.” 29 C.F.R. §2510.3-21(c)(1). FAQ 7 asks, “When is advice to roll over assets

 from an employee benefit plan to an IRA considered to be [] on a ‘regular basis’?”

 AR 1351. In its answer, the Department states that the “regular basis” prong can

 be satisfied for a “recommendation to roll plan assets to an IRA” even when it is

 the “first instance of advice.” Id. According to the Department, this type of one-

 time advice will be the act of a fiduciary if the parties establish an “ongoing advice

 relationship” after the rollover is completed, or if the financial professional

 “expects to regularly make investment recommendations regarding the IRA” going

 forward. Id. (emphasis added).

       Thus, under the Department’s pronouncements in FAQ 7, a financial

 professional can be considered an investment-advice fiduciary when making a

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 rollover recommendation even though he has not provided any advice on “a

 regular basis to the plan” when the advice is given. The Department’s answer to

 FAQ 7 thus transforms countless one-time rollover recommendations into the acts

 of a fiduciary, contrary to the Department’s prior interpretation of its rules.

       FAQ 15. The Exemption states that financial institutions must “document[]

 the specific reasons that any recommendation to roll over assets . . . is in the Best

 Interest of the Retirement Investor.” AR 66 (Exemption §2(c)(3)). The Exemption

 does not mandate any specific ways in which financial institutions must comply

 with this documentation requirement.

       FAQ 15, however, significantly expands financial institutions’ obligations

 under the Exemption. It asks, “What factors should financial institutions and

 investment professionals consider and document in their disclosure of the reasons

 that a rollover recommendation is in a retirement investor’s best interest?”

 AR 1355. In its answer, the Department states that, for recommendations to roll

 over assets from an employee benefit plan to an IRA, financial institutions and

 investment professionals must consider and document: (1) “the alternatives to a

 rollover, including leaving the money in the investor’s employer’s plan, if

 permitted”; (2) “the fees and expenses associated with both the plan and the IRA”;

 (3) “whether the employer pays for some or all of the plan’s administrative

 expenses”; and (4) “the different levels of services and investments available under

 the plan and the IRA.” Id.

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       In addition, FAQ 15 states that “[t]o satisfy the documentation requirement

 for rollovers from an employee benefit plan to an IRA, investment professionals

 and financial institutions should make diligent and prudent efforts to obtain

 information about the existing employee benefit plan and the participant’s

 interests in it.” Id. “If the retirement investor won’t provide the information, even

 after a full explanation of its significance, and the information is not otherwise

 readily available, the financial institution and investment professional should

 make a reasonable estimation of expenses, asset values, risk, and returns based on

 publicly available information.” Id. The institution and professional then “should

 document and explain the assumptions used and their limitations.” Id.

       Thus, even though the Exemption requires financial institutions to do

 nothing more than document their “specific reasons” for recommending a

 rollover, see AR 66, FAQ 15 imposes numerous documentation and investigation

 requirements that are contained nowhere in the Exemption.

       Five months later, on October 25, 2021, the Department issued Field

 Assistance Bulletin (FAB) 2021-02. See AR 108-11 (FAB No. 2021-02 (Oct. 25, 2021)).

 Pointing to FAQ 15, the Bulletin stated that “financial institutions have expressed

 concern that they face significant challenges in implementing the rollover

 documentation and disclosure requirements by the December 20 deadline” and

 that “these challenges and concerns may delay their ability to rely on the

 exemption.” AR 110. The Department thus found it appropriate to provide

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 “transition relief” from the “documentation and disclosure requirements” it had

 imposed. AR 110. Specifically, the Department stated that through June 30, 2022,

 it “will not enforce the specific documentation and disclosure requirements for

 rollovers.” AR 110.

                             STANDARD OF REVIEW
       Summary judgment is required if “there is no genuine dispute as to any

 material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

 Civ. P. 56(a). The APA requires reviewing courts to “hold unlawful and set aside

 agency action” that is “arbitrary” or “capricious”; “in excess of statutory

 jurisdiction, authority, or limitations, or short of statutory right”; or that was

 issued “without observance of procedure required by law.” 5 U.S.C. §706(2). When

 reviewing agency action, “the entire case on review is a question of law” and “the

 district judge sits as an appellate tribunal.” Health Freedom Def. Fund, Inc. v. Biden,

 No. 8:21-cv-1693, --- F. Supp. 3d ---, 2022 WL 1134138, at *3 (M.D. Fla. Apr. 18, 2022)

 (cleaned up) (quoting Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C.

 Cir. 2001)). “‘Summary judgment serves as the mechanism for deciding, as a

 matter of law, whether the agency action is supported by the administrative record

 and otherwise consistent with the APA standard of review.’” Id. (quoting O.A. v.

 Trump, 404 F. Supp. 3d 109, 125 (D.D.C. 2019)). “If a plaintiff ‘prevails on its APA

 claim,’ the ‘relief under that statute normally will be a vacatur of the agency’s

 order.’” Id. (quoting Am. Bioscience, 269 F.3d at 1084).

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                                     ARGUMENT
 I.    The Department’s pronouncements in FAQ 7 violate the APA.

       A.     The Department’s pronouncements in FAQ 7 improperly amend
              the Department’s rules without notice and comment.
       Under the APA, all “rules” must be issued through a statutorily prescribed

 notice-and-comment process. See 5 U.S.C. §553. Through this process, the APA

 ensures that “agency regulations are tested via exposure to diverse public

 comment” and that there is “fairness to affected parties.” Int’l Union, 407 F.3d at

 1259. Rules issued through the notice-and-comment process are often referred to

 as “‘legislative rules’” because they have the “‘force and effect of law.’” Perez, 575

 U.S. at 96. A rule is “legislative”—and thus required to go through the notice-and-

 comment process—if it “effectively amends a prior legislative rule,” “adopts a new

 position inconsistent with existing regulations,” or otherwise “effects a

 substantive change in existing law or policy.” Mendoza v. Perez, 754 F.3d 1002, 1021,

 1024 (D.C. Cir. 2014) (cleaned up). An agency violates the APA if it promulgates a

 legislative rule without providing public notice and the opportunity to comment.

 Id.

       Here, the Department’s pronouncements in FAQ 7 are procedurally

 improper because they effectively amend the Department’s existing regulations,

 adopt a new position inconsistent with existing regulations, and otherwise effect

 a substantive change in existing law or policy. Under the Department’s rules, a

 financial professional is not a “fiduciary” unless he or she satisfies a five-part test.

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 29 C.F.R. §2510.3-21(c)(1). This test “capture[s] the essence of a fiduciary

 relationship” by ensuring that there is “a special relationship of trust and

 confidence between the fiduciary and his client.” Chamber of Commerce, 885 F.3d at

 365. To be a fiduciary under this test, a financial professional must, among other

 things, “[r]ender[] advice . . . on a regular basis to the plan.” 29 C.F.R. §2510.3-

 21(c)(1) (emphasis added).

       Because of this “regular basis” prong, the Department never considered

 one-time rollover recommendations to be a “fiduciary” act. Chamber of Commerce,

 885 F.3d at 365. Indeed, this is a principal reason why the Department

 promulgated the Fiduciary Rule in 2016. According to the Department, one of the

 “shortcomings” of the five-part test was “the requirement that advice be furnished

 on a ‘regular basis’” because this prong “deprives individual participants and IRA

 owners of statutory protection when they seek specialized advice on a one-time

 basis,” as in the case of “a rollover from a plan to an IRA.” See Fiduciary Rule,

 81 Fed. Reg at 20955; see also id. at 20949 (“Because advice on rollovers is usually

 one-time and not ‘on a regular basis,’ it is often not covered by the 1975

 standard.”).

       The Department promulgated the Fiduciary Rule to fix this perceived gap.

 By dispensing with the “regular basis” prong and other criteria, the Fiduciary Rule

 “encompasse[d] virtually all financial and insurance professionals who do

 business with ERISA plans and IRA holders,” including those who recommend

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 “one-time transactions like IRA rollovers.” Chamber of Commerce, 885 F.3d at

 365-66. As explained, however, the Fifth Circuit found this and other aspects of

 the rule unlawful and vacated the rule, effectively restoring the Department’s

 decades-old “regular basis” requirement. If the Department wanted to again

 change its definition of “fiduciary,” it needed to do so in compliance with the

 APA—by providing notice that it intended to amend its rules and an opportunity

 to comment.

       Yet the Department didn’t do that. Instead, the Department gave notice that

 it intended to reinterpret the “regular basis” prong to no longer exclude one-time

 rollover advice. See AR 75-76. This does not satisfy the notice-and-comment

 requirements of the APA. An agency cannot amend its rules through an

 interpretation. Agencies must “use the same procedures when they amend or

 repeal a rule as they used to issue the rule in the first instance.” Perez, 575 U.S. at

 101; see, e.g., York v. Wellmark, Inc., No. 16-cv-627, 2017 WL 11261026, at *17 & n.9

 (S.D. Iowa) (“[T]he interpretation [in the preamble to a final rule] was not part of

 the regulatory text and therefore not subjected to notice-and-comment

 rulemaking, although it was published in the Federal Register and made during

 the notice-and-comment process.”).

       New Hampshire Hospital Association v. Azar is directly on point. 887 F.3d 62

 (1st Cir. 2018). There, the U.S. Department of Health and Human Services posted

 a set of “Frequently Asked Questions” on its website stating that certain Medicare

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 and private insurance payments should be deducted when determining hospitals’

 “costs incurred.” Id. at 68-69. The agency argued that the FAQs were not improper

 legislative rules under the APA because the agency had already “established the

 relevant policy in the preamble to [a] 2008 reporting regulation, rather than in its

 text.” Id. at 76. The First Circuit rejected this argument. “Although the 2008

 regulation was subject to notice and comment, the preamble, like the FAQs

 announcement, was not.” Id. (emphasis added) (citing Leslie Salt Co. v. United

 States, 55 F.3d 1388, 1393 (9th Cir. 1995) (holding that a “preamble has not been

 subjected to notice and comment.”)).

       So too here. If the Department wants to change its rules, it must amend its

 rules through the notice-and-comment process. It cannot do so through an

 interpretation. Because the Department’s pronouncements in FAQ 7 are a

 legislative rule that did not go through the notice-and-comment process, they

 violate the APA.

       B.     The Department’s pronouncements in FAQ 7 are arbitrary and
              capricious.

       The APA requires courts to “hold unlawful and set aside agency action[s]”

 that are “arbitrary, capricious, an abuse of discretion, or otherwise not in

 accordance with law.” 5 U.S.C. §706(2)(A). Under the APA, agencies are bound by

 their own regulations. Nat’l Env’t Dev. Ass’ns Clean Air Project v. EPA, 752 F.3d 999,

 1009 (D.C. Cir. 2014). An agency’s interpretation of its rules is arbitrary and


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 capricious if it is unreasonable or inconsistent with the regulation’s plain meaning.

 Kisor, 139 S. Ct. at 2415.

       Here, FAQ 7 is inconsistent with the plain language of the Department’s

 regulations for multiple reasons. First, FAQ 7 contradicts the Department’s

 existing rules because a one-time rollover recommendation cannot be made “on a

 regular basis to the plan.” 29 C.F.R. §2510.3-21(c)(1) (emphasis added). Whether an

 individual is a “fiduciary” is determined on a plan-by-plan basis. Under ERISA,

 “a person is a fiduciary with respect to a plan to the extent” he, among other things,

 exercises discretionary control “respecting management of such plan,” renders

 investment advice for a fee “with respect to any moneys or other property of such

 plan,” or has any discretionary authority “in the administration of such plan.”

 29 U.S.C. §1002(21)(N)(i)-(iii) (emphasis added).

       The Department’s rules have a similar focus. A person who renders

 investment advice is a “fiduciary” when “such person [1] renders advice to the plan

 . . . [2] on a regular basis to the plan [3] pursuant to a mutual agreement,

 arrangement or understanding, written or otherwise, between such person and the

 plan or a fiduciary with respect to the plan, that such services [4] will serve as a

 primary basis for investment decisions with respect to plan assets, and that such

 person will [5] render individualized investment advice to the plan based on the

 particular needs of the plan.” 29 C.F.R. §2510.3-21(c)(1) (emphasis added).



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       FAQ 7, however, abandons this plan-specific focus in the context of

 rollovers. Before a rollover occurs, a professional who gives rollover advice does

 so with respect to the ERISA-governed plan (e.g., an employer-sponsored, defined-

 benefit plan). See AR 75 (“[A] recommendation to roll assets out of a Plan is advice

 with respect to the moneys or other property of the Plan.” (emphasis added)); see

 also Fiduciary Rule, 81 Fed. Reg. at 20,964. After the rollover, however, any future

 advice will be with respect to a new plan (e.g., an IRA which contains new assets

 from the rollover). In other words, the professional’s pattern of advice “to the

 plan” will end as soon as the rollover occurs because the two vehicles for holding

 retirement assets are different plans. The professional’s one-time rollover advice

 thus cannot be made on a “regular basis to the plan” because it will be the last

 advice that the professional makes “to the plan.” 29 C.F.R. §2510.3-21(c)(1). Any

 further recommendations would be made “to the [new] plan.” Id. The

 Department’s pronouncement that the “regular basis” prong can be satisfied by a

 rollover recommendation when it is the “first instance of advice” thus is arbitrary

 and capricious.

       Second, FAQ 7 is unreasonable and inconsistent with the Department’s rules

 because the five-part test requires that a person be giving advice on a regular basis

 at the time the rollover advice is made. The Department’s rules speak in the present

 tense. A person is a fiduciary if he “renders” advice on a regular basis—not if he

 “will render” advice or is “expected to” render advice. An agency’s “use of a verb

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 tense is significant in construing” rules. United States v. Wilson, 503 U.S. 329, 333

 (1992). “The present tense ‘in general represents present time.’” Bonnichsen v.

 United States, 367 F.3d 864, 875 (9th Cir. 2004) (quoting R. Pence & D. Emery, A

 Grammar of Present Day English 262 (2d ed. 1963)). By using the present tense, the

 Department made clear that the advice being given on a regular basis must be

 “presently existing.” Id.

       Yet under FAQ 7, a rollover recommendation that is not fiduciary

 investment advice at the time it is given may become fiduciary advice if the

 professional gives additional advice in the future. AR 1351. This new standard thus

 imposes fiduciary status retroactively, which contradicts the plain language of the

 Department’s regulations. Moreover, under FAQ 7, the professional or institution

 need not even render any additional advice in the future to be deemed a

 “fiduciary.” All that is required is that the advisor “expects to” render future

 advice. AR 1351. But it is inconceivable that an advisor could render advice on a

 “regular basis to the plan” if no “regular” advice ever occurs. See Definition of

 “Regular,” Merriam-Webster Dictionary, bit.ly/3wxHAw0 (defining “regular” as

 “recurring . . . at fixed, uniform, or normal intervals”).

       Third, the Department’s interpretation is inconsistent with ERISA. As the

 Fifth Circuit recognized, a person is not a “fiduciary” under ERISA unless there is

 “a special relationship of trust and confidence between the fiduciary and his

 client.” Chamber of Commerce, 885 F.3d at 365. Under FAQ 7, however, a

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 professional who has no “special relationship of trust and confidence” with the

 client—because it is the first advice he has ever given the client—can be considered

 a fiduciary. That flatly contradicts ERISA. Indeed, one of the Fiduciary Rule’s

 principal flaws was that it covered “one-time IRA rollover or annuity transactions

 where it is ordinarily inconceivable that financial salespeople or insurance agents

 will have an intimate relationship of trust and confidence with prospective

 purchasers.” Id. at 380. The Department cannot adopt a new interpretation of its

 rules that is inconsistent with the governing statutes. United Farm Workers of Am.,

 AFL-CIO v. Chao, 227 F. Supp. 2d 102, 108 (D.D.C. 2002).

       At bottom, that it took the Department more than “forty years to ‘discover’

 its novel interpretation further highlights the [FAQ’s] unreasonableness.” Chamber

 of Commerce, 885 F.3d at 380 (quoting Util. Air Reg. Grp. v. EPA, 573 U.S. 302, 324

 (2014)). Courts are skeptical of an agency’s new interpretation of its rules “when

 lots of time has passed between the rule’s issuance and its interpretation—

 especially if the interpretation differs from one that has come before.” Kisor, 139

 S. Ct. at 2412. That is precisely what happened here. The Department discovered

 a new interpretation of its rules only after it tried—and failed—to amend them

 through the notice-and-comment rulemaking process. The Department cannot

 now “‘under the guise of interpreting a regulation . . . create de facto a new

 regulation.’” Id. at 2415 (quoting Christensen v. Harris Cnty., 529 U.S. 576, 588



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 (2000)). Because the Department’s pronouncements in FAQ 7 are arbitrary and

 capricious, they violate the APA.

 II.   The Department’s pronouncements in FAQ 15 violate the APA.
       A.    The Department’s pronouncements in FAQ 15 improperly amend
             the Department’s rules without notice and comment.

       FAQ 15 is likewise a procedurally improper legislative rule because it

 imposes new requirements on regulated entities that are not contained in the

 Exemption’s text. Although the Exemption went through notice and comment, see

 AR 98-101; 29 U.S.C. §1108(a), neither the preamble to the Exemption nor the FAQs

 did, see N.H. Hosp. Ass’n, 887 F.3d at 77; York, 2017 WL 11261026, at *17 & n.9. The

 Exemption’s documentation requirements are simple and straightforward.

 Financial institutions need only “document[] the specific reasons that any

 recommendation to roll over assets . . . is in the Best Interest of the Retirement

 Investor.” AR 66 (Exemption §2(c)(3)). That’s it. The Exemption contains no other

 requirements detailing which factors investment professionals must document,

 whether they must attempt to obtain information about existing plans or the

 participants’ interests, or whether they must make estimates and assumptions

 about these interests. See AR 65-69. If the Department wanted to include additional

 obligations, it needed to put them in the text of the Exemption after providing the

 notice and opportunity to comment required by the APA.




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       Instead, the Department simply announced a host of new documentation

 and investigation requirements through FAQ 15. AR 1355. For example, to “satisfy

 the documentation requirement for rollovers,” FAQ 15 requires financial

 institutions to “make diligent and prudent efforts to obtain information about the

 existing employee benefit plan and the participant’s interests in it.” Id. If the

 investor won’t provide the information, the financial institution must “make a

 reasonable estimation of expenses, asset values, risk, and returns based on publicly

 available information” and “document and explain the assumptions used and

 their limitations.” Id. None of these specific obligations are in the Exemption.

       FAQ 15 is an improper legislative rule because it “effectively amends a prior

 legislative rule” by imposing new obligations on regulated entities. Mendoza, 754

 F.3d at 1024 (cleaned up). Indeed, courts frequently warn against the maneuver

 the Department made here—“avoid[ing] notice-and-comment rulemaking simply

 by promulgating a . . . broad regulation . . . and then invoking its power to

 interpret that statute and regulation in binding the public to a strict and specific

 set of obligations.” EPIC v. DHS, 653 F.3d 1, 7 (D.C. Cir. 2011); see N.H. Hosp. Ass’n,

 887 F.3d at 75 (same). The entire “purpose of the APA would be disserved” if an

 agency could misuse guidance documents this way. EPIC, 653 F.3d at 7.

       Here, the Department adopted the Exemption—a requirement to document

 “specific reasons” for rollover advice—and then “invok[ed] its power to interpret”

 the rule to “bind[] the public to a strict and specific set of obligations.” Id. In other

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 words, instead of amending the Exemption through notice and comment, the

 Department simply issued an FAQ. The APA prohibits this end-run around the

 notice-and-comment process. See Iowa League of Cities v. EPA, 711 F.3d 844, 873 (8th

 Cir. 2013) (“Expanding the footprint of a regulation by imposing new

 requirements, rather than simply interpreting the legal norms Congress or the

 agency itself has previously created, is the hallmark of legislative rules.”); N.H.

 Hosp. Ass’n, 887 F.3d at 75 (an agency cannot “simply adopt a regulation parroting

 the statute, and then reveal its choice through a rule ‘interpreting’ the regulation”).

 Because FAQ 15 is a legislative rule that did not go through the proper notice-and-

 comment process, the Department’s pronouncements in FAQ 15 violate the APA.

       B.     The Department’s pronouncements in FAQ 15 are arbitrary and
              capricious.
       The Department’s pronouncements in FAQ 15 are also arbitrary and

 capricious because they are unreasonable and inconsistent with a plain reading of

 the Exemption. The Exemption requires financial institutions only to “document[]

 the specific reasons that any recommendation to roll over assets . . . is in the Best

 Interest of the Retirement Investor.” AR 1355 (Exemption §2(c)(3)). As explained

 above, however, FAQ 15 goes further and imposes significant new documentation

 and investigation requirements that are nowhere contained in the Exemption.

 While a financial institution could undertake the expensive and burdensome steps

 required by FAQ 15, nothing in the Exemption requires it to do so.


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       No reasonable reading of the Exemption supports FAQ 15. The Department

 cannot use a guidance document to “impose a [requirement] that [the agency] did

 not include” in the rule itself. Gorss Motels, Inc. v. Safemark Sys., LP, 931 F.3d 1094,

 1102 (11th Cir. 2019). Absent FAQ 15, no regulated entity could ever read the

 Exemption and independently conclude that it imposed the laundry list of

 obligations laid out in FAQ 15. See Mountain States Health All. v. Burwell, 128 F.

 Supp. 3d 195, 204 (D.D.C. 2015) (“An interpretive rule ‘must derive a proposition

 from an existing document whose meaning compels or logically justifies the

 proposition.’” (quoting Cath. Health Initiatives v. Sebelius, 617 F.3d 490, 494 (D.C.

 Cir. 2010)).

       Nor can the Department add such specific obligations through a new

 “interpretation.” “‘Nothing is to be added to what the text states or reasonably

 implies.’” Gorss Motels, 931 F.3d at 1102 (quoting Scalia & Garner, Reading Law: The

 Interpretation of Legal Texts 93 (2012)). An agency has no power to “‘enlarge or

 improve or change’” the rule through interpretation. Scalia & Garner, supra, 93

 (citation omitted). Indeed, “the principle that a matter not covered [in a rule] is not

 covered is so obvious that it seems absurd to recite it.” Yates v. Collier, 868 F.3d 354,

 369 (5th Cir. 2017) (cleaned up) (quoting Scalia & Garner, supra, 93).

       Here, the Department easily “could have added” specific requirements that

 investment professionals consider certain factors, attempt to obtain information

 about existing plans or the participants’ interests, or make estimates and

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 assumptions about these interests Scalia & Garner, supra, 95. But “in the absence

 of such” requirements in the Exemption, the Department “could not create” them

 through a new “interpretation” of its regulations. Id. Because the Department’s

 pronouncements in FAQ 15 are arbitrary and capricious, they violate the APA.

 III.   The Court should declare that the pronouncements in FAQ 7 and FAQ 15
        are unlawful, enjoin the Department from enforcing them, and vacate and
        set them aside.
        A reviewing court must “hold unlawful and set aside agency action[s]” that

 violate the APA or exceed the agency’s authority. 5 U.S.C. §706(2). “Courts have

 long interpreted this provision as authorizing vacatur.” Health Freedom Def. Fund,

 2022 WL 1134138, at *20. Indeed, “‘vacatur . . . is the ordinary APA remedy.’” Black

 Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d 1271, 1290 (11th Cir.

 2015). Courts regularly issue this type of relief for guidance documents that violate

 the APA. See, e.g., Mendoza v. Perez, 72 F. Supp. 3d 168, 175 (D.D.C. 2014) (vacating

 agency training letters).

        In addition to vacatur, the Court should also enjoin the Department from

 enforcing its unlawful pronouncements in FAQ 7 and FAQ 15. This relief is

 warranted when agencies issue guidance documents in violation of the APA. See,

 e.g., N.H. Hospital Ass’n, 887 F.3d at 69, 77 (affirming district court’s decision

 “grant[ing] plaintiffs’ motion for summary judgment and permanently enjoin[ing]

 the Secretary from enforcing FAQs 33 and 34”); Children’s Hosp. of the King’s

 Daughters, Inc. v. Azar, 896 F.3d 615, 616-17 (4th Cir. 2018) (affirming district court

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 order “enjoining the Secretary from enforcing a Medicaid policy set forth in a

 Frequently Asked Questions document”).

       Accordingly,   the     Court   should     declare    that   the   Department’s

 pronouncements in FAQ 7 and FAQ 15 are unlawful, enjoin the Defendants from

 enforcing them anywhere in the Department’s jurisdiction, and vacate and set

 them aside.

                                  CONCLUSION
       For the foregoing reasons, the Court should grant ASA’s motion for

 summary judgment.



                                              Respectfully submitted,

        Dated: May 20, 2022                    /s/ J. Michael Connolly

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                           CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2022, I electronically filed the foregoing with

 the Clerk of the Court using the CM/ECF system, which will send notice to all

 counsel of record.

                                               /s/ J. Michael Connolly

                                           J. Michael Connolly (pro hac vice)




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